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DECLARATION OF MARION H. LITTLE, JR.

I, Marion H. Little, Jr., declare under penalty of perjury, based on personal knowledge, as
follows:

1, I am one of the attorneys representing Defendants The New Albany Company,
LLC, The Wexner Family Charitable Fund, The YLK Charitable Fund, Abigail S. Wexner, The
Wexner Foundation, and Leslie H. Wexner (collectively, the “Defendants”’).

2. Exhibit A to Defendants’ Motion to Disqualify Plaintiff's Counsel is a true and
accurate copy of the Confidentiality Agreement.

3. Exhibit B to Defendants’ Motion to Disqualify Plaintiff's Counsel is a true and
accurate copy of the December 14, 2021 email from Jennifer Araoz to John W. Zeiger and
Marion H. Little.

4. Exhibit C to Defendants’ Motion to Disqualify Plaintiff's Counsel is a true and
accurate copy of the December 27, 2021 letter from Marion H. Little, Jr. to Robert J. Hantman.

5. Exhibit D to Defendants’ Motion to Disqualify Plaintiff’s Counsel is a true and
accurate copy of the January 14, 2022 letter from Marion H. Little, Jr. to Robert J. Hantman.

6. Exhibit E to Defendants’ Motion to Disqualify Plaintiffs Counsel is a true and
accurate copy of the January 24, 2022 letter from Marion H. Little, Jr. to Robert J. Hantman.

7. Exhibit F to Defendants’ Motion to Disqualify Plaintiff's Counsel is a true and
accurate copy of the February 1, 2022 letter from Marion H. Little, Jr. to Robert J. Hantman.

8. Exhibit G to Defendants’ Motion .to Disqualify Plaintiff's Counsel is a true and

accurate copy of the May 17, 2022 letter from Matthew Zeiger to Robert J. Hantman.
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I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on August 24, 2022.

 

 

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